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                                CERTIFICATE OF SERVICE


               I, Ann C. Cordo, certify that I am not less than 18 years of age, and that service of

the foregoing Twenty-First Interim Application Of Ernst & Young LLP For Allowance Of

Compensation For Services Rendered As Indirect Tax Service Advisor To The Debtors

And Debtors-In-Possession For Period Of February 1, 2013 Through April 30, 2013 was

caused to be made on May 31, 2013, in the manner indicated upon the entities identified below:


Date: May 31, 2013                                      /s/ Ann C. Cordo
                                                       Ann C. Cordo (No. 4817)


VIA HAND DELIVERY                                 VIA FIRST CLASS MAIL

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